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                                                No. 24-880

                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT
                                  ____________________________

                     CENTER FOR INVESTIGATIVE REPORTING and WILL EVANS

                                                                Plaintiffs-Appellees,

                                                     v.

                              UNITED STATES DEPARTMENT OF LABOR

                                                                Defendant-Appellant.


                 On Appeal from the United States District Court for the Northern District of
                California, Case No. 22-cv-07182-WHA, Honorable William Alsup, Presiding

                           PLAINTIFF-APPELLEES’ ANSWERING BRIEF


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                              CORPORATE DISCLOSURE STATEMENT



                    This statement is made pursuant to Federal Rules of Appellate Procedure

             26.1 and 28(a)(1). Plaintiff Center for Investigative Reporting does not have a

             parent corporation, and there are no publicly held corporations that own more than

             10% of its stock. Plaintiff Will Evans is an individual.


             DATE: July 10, 2024
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                                                    D. VICTORIA BARANETSKY
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                                                    REPORTING and WILL EVANS
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                                            I. INTRODUCTION

                    This is the second time Plaintiffs/Appellees Center for Investigative

             Reporting and Will Evans (collectively, “CIR” or “Plaintiffs” or

             “Plaintiffs/Appellees”) have appeared before this Court and the third time they

             have filed a lawsuit to enforce compliance with a Freedom of Information Act, 5

             U.S.C. § 552 (“FOIA”) request for diversity statistic reports (EEO-1 Consolidated

             Reports (Type 2) or “EEO-1 reports”) submitted to Defendant/Appellant

             Department of Labor (“DOL” or “Defendant” or “Defendant/Appellant”) by large

             federal contractors. These government-created forms, with generalized diversity

             data, are required by DOL from all federal contractors with 50 or more employees

             annually pursuant to Title VII of the Civil Rights Act (“CRA”) of 1964.1 DOL is

             continuing to withhold at least 16,755 EEO-1 Reports from 4,796 contractors

             under FOIA Exemption 4, necessitating this lawsuit.

                    EEO-1 Reports are of immense public importance. They facilitate

             compliance and enforcement of the Civil Rights Act.2 But perhaps even more



             1
               Section 709(c) of the Civil Rights Act, as amended, 42 U.S.C. § 2000e-8(c), and
             can be found in 29 CFR 1602.7-.14 and 41 CFR 60-1.7(a). The express purpose
             of the statute that authorizes DOL’s regulations requiring EEO-1 Reports is to
             facilitate “enforcement” of the equal employment opportunity protection
             provisions of the Civil Rights Act, 42 U.S.C. § 2000e–8(c).
             2
               When President Johnson signed the Civil Rights Act into law, he explained that it
             was meant to place all as on more equal footing in various aspects of their daily

                                                       1
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             importantly, they permit the public to verify that publicly funded large federal

             contractors 3 are complying with the law, and to ensure that DOL is taking

             meaningful steps to further ensure compliance by large federal contractors hired

             with taxpayer dollars, often at great expense. Because of this public interest, CIR,

             along with many other newsrooms and academics, has requested, obtained, and

             reported on this data multiple times over the years. 1-SER-89-90.

                    This lawsuit is the third time Plaintiffs/Appellees Center for Investigative

             Reporting and Will Evans have gone to court to enforce their right of access to

             EEO-1 Reports. CIR has been forced to file two prior lawsuits to obtain the same

             EEO-1 Reports at issue here, which ended in one settlement resulting in the

             disclosure of all records and one district court opinion ordering full disclosure of

             EEO-1 Reports under FOIA Exemption 4 and the FOIA Improvement Act of 2016,




             lives, including in the workplace. Lyndon Johnson, Remarks upon Signing the
             Civil Rights Act of 1964 (July 2, 1964), available at https://shorturl.at/cikzN.
             3
               Large federal contractors are required to submit EEO-1 Reports for good reason:
             they receive staggering sums of taxpayer money each year. According to the U.S.
             Government Accountability Office, in FY 2023 alone, “the federal government
             committed about $759 billion on contracts, an increase of about $33 billion from
             Fiscal Year 2022 after adjusting for inflation.” U.S. Government Accountability
             Office, A Snapshot of Government-Wide Contracting for FY 2023 (interactive
             dashboard) (gao.gov June 25, 2024), available at
             https://www.gao.gov/blog/snapshot-government-wide-contracting-fy-2023-
             interactive-dashboard (emphasis added).

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             5 U.S.C. § 552(a)(8)(A)(i)(I) (“FIA”). 4 Subsequently, the district court in this case

             once more ordered disclosure of EEO-1 Reports and held Exemption 4 did not

             apply. Despite the unison in these lower court decisions, CIR has been forced to

             use its resources and time to litigate this issue on appeal yet again in this case, five

             years after it made its first request for EEO-1 Reports to DOL, CIR seeks to obtain

             an order requiring DOL to comply with these decisions and enforce its and the

             public’s right of access.

                    In this case, as in Plaintiffs/Appellees’ previous cases against DOL seeking

             access to EEO-1 Reports, DOL withheld the requested EEO-1 Reports under

             FOIA’s Exemption 4, which allows federal agencies to withhold “trade secrets and

             commercial or financial information obtained from a person and privileged or

             confidential.” 5 U.S.C. § 552(b)(4). DOL argued in the district court, as it had

             unsuccessfully in its previous case against CIR and Mr. Evans involving access to

             EEO-1 Reports, that the high-level diversity information in EEO-1 Reports is

             exempt from disclosure under Exemption 4 because it is “confidential”


             4
              In Ctr. for Investigative Reporting v. Dep’t of Labor, Case No. 3:18-cv-02008
             (N.D. Cal. Dec. 21, 2008), DOL disclosed EEO-1 Reports without a court order to
             settle the case. 1-SER-89. And, in Center for Investigative Reporting v.
             Department of Labor (“CIR I”), 424 F. Supp. 3d 771, 776-79 (N.D. Cal. 2019),
             aff’d sub. nom. Evans v. Synopsys, Inc., 34 F.4th 762, 772 (9th Cir. 2022), this
             court ordered DOL to disclose EEO-1 Reports because they are not “commercial”
             under FOIA Exemption 4 and disclosure would not cause foreseeable harm. 1-
             SER-89-90. DOL chose not to appeal, and an intervenor’s appeal was dismissed.
             Id.
                                                        3
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             “commercial” information. The district court rejected DOL’s Exemption 4 claim

             and largely granted Plaintiffs/Appellees’ summary judgment motion.

                    This Court should affirm the district court’s summary judgment ruling, for

             several independent reasons. First, FOIA’s Exemption 4 applies to information

             that is commercial and confidential. The district court was correct when it held that

             DOL has not met, and cannot meet, its burden to prove EEO-1 Reports are

             “commercial information” under Exemption 4 because there is too tenuous a

             connection — if any — between the demographics of a contractor’s workforce and

             its profit-making activities. DOL had the burden to prove otherwise, but failed to

             meet that burden. Second, the summary judgment order should be affirmed for the

             reason (not reached by Judge Alsup) that DOL fell far short of meeting its burden

             to prove that any reasonably foreseeable harm would result from disclosure of the

             EEO-1 reports, as required by the FIA. The reasonably-foreseeable-harm

             requirement is a separate and independent requirement from the Exemptions,

             created by the FIA, and must be satisfied. DOL failed to meet its burden under the

             FIA because it barely attempted to articulate a reasonably foreseeable harm that

             would result from disclosure, and the harms that it did identify were not

             sufficiently specific nor objectively reasonable, nor were they the types of harms

             that Exemption 4 was intended to prevent, as the FIA requires. While the district

             court’s ruling did not analyze the FIA, this Court can, and should, hold that DOL’s


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             failure to meet its burden of proof under the FIA separately and independently

             justifies affirming the district court’s Exemption 4 ruling.

                                   II. STATEMENT OF JURISDICTION

                    Appellees and Plaintiffs Center for Investigative Reporting and Will Evans

             agree with the statement of jurisdiction by Appellant and Defendant Department of

             Labor.

                                    III. STATEMENT OF THE ISSUES

                    1.      Whether DOL failed to meet its burden to prove that EEO-1 Reports

             are “commercial information” within the meaning of Exemption 4 of the Freedom

             of Information Act, 5 U.S.C. § 552(b)(4), as decided by the district court, 1-ER-6-

             10, and in Center for Investigative Reporting v. Department of Labor (“CIR I”),

             424 F. Supp. 3d 771, 776-79 (N.D. Cal. 2019).

                    2.      Whether DOL met its additional burden to prove, under the FIA, that

             disclosing EEO-1 Reports would cause reasonably foreseeable harm to the

             interests protected by Exemption 4, and whether the Trade Secrets Act excuses

             DOL from meeting that requirement. See 1-ER-10–13; CIR I, 424 F. Supp. 3d at

             780.

                    A copy of pertinent statutes has been provided in the Addendum to

             Appellant/Defendant Department of Labor’s Brief for Appellant.




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                                     IV. STATEMENT OF THE CASE

             A.     FEDERAL CONTRACTORS ARE REQUIRED TO SUBMIT EEO-1 REPORTS TO
                    DOL

                    Each year, companies that qualify as federal contractors are required to

             submit demographic data on their employees to the DOL under section 709(c) of

             the CRA. These companies must annually file an Employment Information Report,

             also known as a Standard Form 100, (“EEO-1 Form”) with the EEO-1 Joint

             Reporting Committee, a committee comprised of the two sub-agencies within

             DOL, the Office of Federal Contract Compliance Programs (“OFCCP”) and the

             Equal Employment Opportunity Commission (“EEOC”). 1-SER-203 – 3-SER-732

             (OFCCP Manual); 41 C.F.R. § 60-1.7 (OFCCP regulations); 29 C.F.R. §1602.7

             (EEOC regulations). The EEOC and the OFCCP jointly administer the EEO-1

             reporting process under the authority of the CRA, and “in the interests of

             consistency, uniformity and economy” they jointly developed the EEO-1 Form “as

             a single form [that] meets the statistical needs of both programs.” 3-SER-733-750

             (EEO-1 instructions).

                    The EEO-1 Form is a mandatory annual survey that requires demographic

             workforce data from federal contractors using specific predetermined categories. 3-

             SER-751-753 (sample of form). The three categories of information called for by

             the EEO-1 Form are (1) two sex options, (2) six race/ethnicity categories, and (3)

             ten general job classifications. Id. If a federal contractor fails to file an EEO-1
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             Form, under section 709(c) of the CRA, the EEOC may compel the contractor to

             file an EEO-1 form by obtaining a court order and imposing further penalties,

             including termination of and debarment from future contracts. 3-SER-735.

                    Two types of reports are created from the EEO-1 Form and filed with

             DOL: Type 1 Component Reports (for employers “doing business at only one

             establishment”) and Type Consolidated 2 Reports (for “employers doing business

             at more than one establishment”). 3-SER-737. The only reports at issue here are

             Type 2 Consolidated Reports (“Type 2 Reports” or “EEO-1 Reports”). EEO-1

             Reports include demographic data on all employees across all of a federal

             contractor’s offices in a single report. 3-SER-737-738.

                    Type 2 Reports contain high-level, aggregate data, as opposed to the more

             particularized data in Type 1 Reports. 3-SER-751-753. The three broad categories

             of diversity data (sex, race/ethnicity, and ten job classifications) that they contain

             were selected “to simplify and standardize the method of reporting.” 3-SER-740;

             3-SER-751-753. Their ten job classifications make EEO-1 Reports even more

             abstract, since all jobs “are considered to belong[] in one of the broad job

             categories.” Id.

                    Marc Bendick, an expert economist, broke down the information contained

             in EEO-1 Reports as follows:

                    (1) The company’s total number of employees.
                    (2) The number of company employees in 10 broad occupational
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                    categories (for example, “professionals,” “craft workers,” and
                    “service workers”).
                    (3) The number of employees in each of those categories by
                    race/ethnicity and gender.
                    (4) How total employment at the company changed from year to year
                    in recent years.
                    (5) How the distribution of the company’s workforce by those 10
                    categories changed from year to year in recent years.
                    (6) How the race/ethnic and gender composition of employees in these
                    categories changed from year to year in recent years.

             1-ER-115-116; see also, e.g., 3-SER-751-753 (example of previously obtained

             EEO-1 Report).

                    Though the EEOC and OFCCP jointly collect EEO-1 data, the two

             agencies are permitted to use the data differently. 3-SER-754-757 (OFCCP

             FAQ). The EEOC “is prohibited from making public” EEO-1 data, Id.; § 709(e)

             of CRA, whereas the OFCCP is permitted to make EEO-1 Reports public under

             FOIA. Id. Since 1974, courts have ruled that the CRA “prohibition against

             disclosure does not apply to OFCCP.” See 42 U.S.C. § 2000e-8(e); Sears,

             Roebuck & Co. v. General Services Admin., 509 F.2d 527, 529 (D.C. Cir. 1974).

             OFCCP has stated as much, online and in the federal register, 87 F.R. § 51145,

             and has previously released EEO-1s to CIR, 1-SER-89-90, and other news

             organizations, 4-SER-1059-1066.

             B.     CIR’S FOIA REQUESTS FOR EEO-1 REPORTS IN THIS CASE

                    On January 10, 2019, Mr. Evans on behalf of CIR, submitted a FOIA

             request to the OFCCP for workforce data from all Consolidated EEO-1, Type 2
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             Reports submitted by all federal contractors in 2016. 1-SER-91; 3-SER-758-766.

             Over the next year, Mr. Evans filed two updates to the January 2019 FOIA

             request with the OFCCP, requesting years 2017 and 2018. 1-SER-91; 3-SER-

             767-772. DOL responded on October 2, 2020. 1-SER-91; 3-SER-773-778. DOL

             took the position that it had to notify each federal contractor who had submitted

             an EEO-1 Report and provide an opportunity to object under its own regulations

             and Executive Order 12600, as the data “may be protected from disclosure under

             FOIA Exemption 4.” Id.

                    On October 30, 2020, CIR responded, citing CIR I. 1-SER-91; 3-SER-779-

             781. In CIR I, on December 10, 2019, another judge of this court denied DOL’s

             identical summary-judgment motion and granted summary judgment for CIR. See

             generally CIR I, 424 F. Supp. 3d 771. The court concluded that the demographic

             data contained in the EEO-1 reports was not commercial or financial information

             and that the reports therefore did not fall within Exemption 4. Id. at 776-79. The

             court acknowledged the declarations DOL had submitted, which claimed that

             EEO-1 reports contain “highly sensitive commercial information” that could be

             used to poach talent or gain a competitive advantage. Id. But by examining the

             actual EEO-1 form, the district court was able to recognize that these declarations

             misrepresented what information is required in an EEO-1 report. Id. The forms’

             “companywide” data and “EEO-1 Report’s general job categories” made it


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             “impossible to discern a corporation’s structure.” Id. at 779. Because the EEO-1

             reports did not contain commercial or financial information, the district court did

             not rule on Exemption 4’s third prong (the confidentiality requirement). See id. at

             779-80. Separately, CIR I held that DOL had failed to satisfy the independent

             requirement imposed by the FOIA Improvement Act of 2016 (“FIA”). Id. at 780.

             The FIA requires agencies to disclose documents subject to FOIA requests unless

             disclosure would violate another law or lead to foreseeable harm of the type that a

             FOIA exemption was intended to prevent. 5 U.S.C. § 552(a)(8)(A)(i). DOL did

             not appeal, but an intervenor did and the Ninth Circuit dismissed an appeal by an

             intervenor. See 1-SER-89-90.

                    On December 18, 2020, DOL restated its contention that it was “obligated

             to notify submitters of the requests” due to the possibility that Exemption 4 might

             apply, despite CIR I. 1-SER-91; 3-SER-782-785. DOL wrote that it did “not

             believe that the Northern California’s District Court’s decision in [CIR I] has

             precedential effect on all EEO-1, Type 2 reports.” Id. Further, DOL estimated

             that CIR’s requests involved well “over 20,000 submitters from countless

             industries,” but did not say whether it had conducted a search and did not provide

             a lawful determination on CIR’s requests, despite the determination requirement

             of FOIA. Id.

                    In the months after DOL’s December 2020 email, CIR sought additional


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             information on how DOL planned to move forward with processing CIR’s

             requests, but DOL offered little, if any, information. 1-SER-91. CIR, through Mr.

             Evans, then updated the initial FOIA, and OFCCP consolidated all four requests,

             covering the years 2016-2020. 1-SER-91-92; 3-SER-790-795.

                    On May 23, 2022, CIR General Counsel, D. Victoria Baranetsky, sent a

             letter to the Solicitor of Labor and OFCCP Director that called attention to

             DOL’s wrongful withholding of EEO-1 Reports and requested an immediate

             determination on CIR’s FOIA requests. 1-SER-92; 3-SER-796-827. The letter

             reiterated CIR’s position that OFCCP was and is bound by CIR I, but DOL

             continued “to strongly disagree” that the CIR I had “any binding effect.” Id.

                    On August 19, 2022, three years after CIR’s initial FOIA request in this

             case, OFCCP published a notice in the Federal Register identifying CIR to all

             federal contractors and informing them of CIR’s requests. 1-SER-92. DOL

             required any objections to disclosure by September 19, 2022,5 but then extended

             that deadline twice, without further regulation, first to October 2022, then to

             March 2023. 6 Id. DOL told CIR that it intended to publish non-objecting



             5
               Notice of Request Under the Freedom of Information Act for Federal
             Contractors’ Type 2 Consolidated EEO-1 Report Data, 87 Fed. Reg. 51145 (Aug.
             19, 2022), available at https://bit.ly/3ThtEzw; 1-SER-92-93; 3-SER-828-833.
             6
               Final Notice Re: Disclosure of Type 2 EEO-1 Data in Response to Freedom of
             Information Act Request, Department of Labor (Mar. 7, 2023), available at
             https://shorturl.at/goS29.
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             contractors’ EEO-1 Reports and name the objectors, but provided no disclosure

             date. Id. CIR’s counsel called DOL repeatedly to try to clarify, to no avail. Id.

             Finally, CIR filed this lawsuit understanding DOL would not comply with CIR I,

             nor provide a basic timeline. Id.

             C.     DOL’S PARTIAL RELEASE AND PARTIAL WITHHOLDING OF EEO-1 DATA

                    At the Case Management Conference, held April 13, 2023, DOL provided

             an approximate timeline for the release of some EEO-1 Reports (from non-

             objecting contractors) and a tentative schedule for when determinations would be

             made for objecting contractors. DOL did not provide a list of objecting

             contractors. 1-SER-92. On April 17, 2023, OFCCP released all EEO-1 Reports

             for non-objecting federal contractors. Id. This disclosure comprised of 56,419

             EEO-1 Reports from 19,289 federal contractors. Id. (In total 75,000 reports were

             found, regarding a total of 24,355 contractors.) Subsequent to release, CIR

             published a story with USAToday on this disclosure. 1-SER-92-93; 3-SER-834-

             838. To date, a significant number of responsive EEO-1 Reports are withheld

             (16,905 corresponding to 4,796 objecting contractors). OFCCP determined the

             data from 16,755 of reports was properly withheld under FOIA Exemption 4. 1-

             SER-93.

             D.     PUBLISHING WORKFORCE EEO-1 DATA IS AN INDUSTRY TREND

                    A substantial – and growing – number of U.S. employers now voluntarily


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             release their EEO-1 report data annually. 3-ER-117. Typically, they release this

             data in their corporate annual reports, other annual diversity reports, or on their

             website. Id. “The releasing firms include 50 of the 100 largest publicly-traded

             firms.” Id. These include contractors “broadly distributed across public utilities,

             finance, consumer services, manufacturing, and other sectors.” Id. For example,

             Intel began posting EEO-1 Reports online in 2008. 1-SER-93; 3-SER-839-840.

             Google began posting its data in 2014, after a similar FOIA lawsuit, and

             Microsoft followed in 2015. 1-SER-93; 3-SER-841-848; 4-SER-1067-1071.

                    This trend reflects a growing recognition among companies, investors, and

             other stakeholders that publishing EEO-1 Reports is in the public interest. See 4-

             SER-1118-1122. Companies recognize it builds public trust and helps ensure a

             diverse workforce. 1-SER-93; 3-SER-849-853. News outlets, including CIR, and

             academics have used EEO-1 Reports in numerous articles about diversity. 1-SER-

             93; 3-SER-854-870. Congressmembers have called for greater access to EEO-1

             Reports, including through FOIA. 7




             7
               See, e.g., 3-SER-871-873. In March 2019, a member of Congress wrote to the
             DOL stating that EEO-1 Reports should not be withheld under Exemption 4, as
             they “enumerate the diversity of firms accepting the taxpayer money.” 3-SER-874-
             876 (letter from Emmanuel Cleaver II, Member of Congress, U.S. House of
             Representatives, to Alexander Acosta, Secretary of U.S. Department of Labor).
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             E.     THE CURRENT APPEAL – THE DISTRICT COURT ORDERS DISCLOSURE OF
                    RECORDS

                    On December 22, 2023, the district court entered an order that, while it did

             not resolve all of the issues presented in the case, required the Department of Labor

             to produce the overwhelming majority of the requested EEO-1 reports, holding that

             EEO-1 reports are not covered by FOIA Exemption 4. 1-ER-14. DOL filed a notice

             of appeal on February 15, 2024. 4-ER-633.

                    In its December 22, 2023 Order, the district court granted in part and denied

             in part the parties’ cross-motions for summary judgment, after addressing a

             number of issues related to the disclosure of records. 1-ER-14. First, regarding the

             issue of collateral estoppel and whether DOL’s contentions under Exemption 4 and

             the Trade Secrets Act are barred because the issues were already litigated in Center

             for Investigative Reporting v. U.S. Department of Labor, 424 F.Supp.3d 771 (N.D.

             Cal. 2019) (i.e., CIR I), the court ruled that collateral estoppel did not apply against

             DOL because it was a government entity, citing U.S. v. Mendoza, 464 U.S. 154.

             162 (1984). 1-ER-5.

                    Second, regarding FOIA’s Exemption 4 and the “commercial requirement”

             of Exemption 4, the district court held that the EEO-1 reports are not “commercial

             in nature for the purpose of Exemption 4 of FOIA.” 1-ER-9. The district court held

             that such reports “do not relate operational or financial information in a direct

             way” and that they “cannot … yield any commercial insight that is specific to the
                                                       14
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             operations of the federal contractor” because the form identifies employees in a

             broad manner using “broadly sweeping categories.” 1-ER-7. The district court also

             held that “diversity data” is not commercial, stating that “[l]ike names or birthdays,

             the demographic background of employees does not speak to the commercial

             contributions of a company’s workforce.” 1-ER-9. The court also rejected the

             notion that disclosing five years’ worth of information may reveal insight into a

             contractor’s operations that may not be revealed by any single EEO-1 report,

             stating that “[b]ecause this order does not find that there is a commercial gain to be

             found in the headcount or demographic data within the EEO-1 report, so too does it

             not find a compounded effect by releasing five years’ worth of data to plaintiffs”

             and that “[e]ven if an objector could plausibly establish that five years’ worth of

             information would reveal commercial information, that data would probably be

             stale by the time it was disclosed.” 1-ER-9.

                     Third, the district court briefly addressed the “confidential” requirement of

             Exemption 4, but ultimately concluded that “[b]ecause the EEO-1 reports are not

             commercial in nature, this order need not decide whether the information is

             confidential under Argus Leader,”8 and the district court denied DOL’s motion for

             EEO-1 reports to be exempt under Exemption 4 “[s]ince defendant was not able to

             demonstrate that the EEO-1 reports were commercial in nature.” 1-ER-10.


             8
                 Food Marketing Institute v. Argus Leader Media, 588 U.S. 427, 435-40 (2019).
                                                        15
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                    Similarly, with regard to the FOIA Improvement Act of 2016 (where

             “Congress amended FOIA to add the ‘foreseeable harm’ standard in which

             agencies ‘shall withhold information’ under the FOIA ‘only if the agency

             reasonably foresees that disclosure would harm an interest protected by an

             exemption’ or ‘disclosure is prohibited by law[]’”), the district court held that it did

             not need to decide whether the FOIA Improvement Act applies to require the

             disclosure of otherwise exempt material because of its earlier holdings that “the

             Trade Secrets Act is inapplicable in this context and defendant does not meet the

             standard for Exemption 4.” 1-ER-11–12.

                    With regard to the Trade Secrets Act, 18 U.S.C. § 1905, which “prevents the

             government from disclosing ‘to any extent not authorized by law’ any information

             concerning ‘trade secrets, processes, operations, style of work, or apparatus, or to

             the identity, confidential statistical data, amount or source of any income, profits,

             losses, or expenditures of any person, firm, partnership, corporation, or

             association[,]” the district court held that the Trade Secrets Act does not prohibit

             disclosure of the EEO-1 reports as “confidential statistical data.” 1-ER-10–11. The

             district court, in making its ruling, stated that DOL’s “contention that ‘confidential

             statistical data’ under the Trade Secrets Act is simply governed by the plain

             meaning of the terms, is made without any substantive support from caselaw and

             could possibly render the language of the Act meaningless.” 1-ER-11.


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                    The district court then addressed the issue of declaratory relief. 1-ER-13. It

             noted that while DOL “did not provide plaintiffs with a timely determination” of

             their FOIA requests, the “large scope” of the FOIA requests and that DOL’s

             actions were not found to be “intentional, persistent, and extreme” meant that

             “declaratory judgment is not appropriate here.” 1-ER-13.

                    Finally, with regard to DOL’s withholding of 621 EEO-1 reports for entities

             that DOL claims were not federal contractors subject to OFCCP’s jurisdiction at

             the time of the reports, the district court held that there were genuine issues of

             material fact regarding Plaintiffs’ allegation that DOL incorrectly withheld those

             621 EEO-1 reports. 1-ER-13. Because of “[t]his disagreement over whether the

             submitter of these 621 reports were federal contractors or under the jurisdiction of

             the OFCCP when the reports were submitted” and the genuine issues of material

             fact regarding those entities, the district court denied that part of Plaintiffs’ cross-

             motion. 1-ER-13.

                    Given the above-referenced rulings, the district court ultimately ordered

             DOL to produce the remaining withheld EEO-1 reports. 1-ER-14.1 DOL then

             eventually moved for a stay of the disclosure order pending appeal, and the district

             court issued a temporary stay pending resolution of the Department’s motion

             (which remains pending to date). 2-ER-16; see 1-SER-2-47.




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                    This appeal stems from the district court’s December 22, 2023 Order on the

             Parties’ cross motions for summary judgment.

                                     V. SUMMARY OF ARGUMENT

                    A.1. The District Court correctly held that EEO-1 Reports are not

             “commercial information within the meaning of FOIA Exemption 4. 5 U.S.C.

             § 552(b)(4). While FOIA Exemption 4 does not define “commercial,” courts have

             “consistently held” that the term “commercial. . . in the exemption [4 context]

             should be given [its] ordinary meaning[]”. Pub. Citizen Health Research Grp. v.

             F.D.A., 704 F.2d 1280, 1290 (D.C. Cir. 1983); accord Watkins v. U.S. Bureau of

             Customs & Border Prot., 643 F.3d 1189, 1194 (9th Cir. 2011). According to that

             ordinary meaning, courts limit “commercial” to only include information “of a

             commercial nature” or information that serves “a commercial function.” Nat’l

             Ass’n of Home Builders v. Norton, 309 F.3d 26, 38 (D.C. Cir. 2002). This requires

             more than just that the records be related to a business, as DOL asserts. Instead, the

             information must be intrinsically commercial to qualify. Carlson v. U.S. Postal

             Serv., 504 F.3d 1123, 1129 (9th Cir. 2007). Applying this standard, the district

             court correctly held that EEO-1 Reports are not “commercial.”.

                    A.2. The decades-old Excelsior line of cases also demands that EEO-1

             Reports cannot be found commercial in nature. The result in those cases, beginning

             with Getman in 1971, which held that a list of all employees eligible to vote in an


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             election was not commercial information, has been upheld by Circuits around the

             country for more than half a century. See Getman v. N.L.R.B., 450 F.2d 670 (D.C.

             Cir. 1971). To rule that EEO-1 reports qualify as commercial information would

             undo fifty years of precedent.

                    A.3. Documents serving a “commercial function” is an even more limited

             category, usually relating only to internal company records that document a

             company’s finances. See, e.g., Skybridge Spectrum Found. v. Fed. Commc’ns

             Comm’n, No. 10-01496, 2012 WL 336160 at *12 (D.D.C. 2012); Merit Energy Co.

             v. U.S. Dep’t of Interior, 180 F. Supp. 2d 1184, 1188 (D. Colo. 2001); New

             Hampshire Right to Life v. U.S. Dep’t of Health & Human Servs., 778 F.3d 43 (1st

             Cir. 2015). EEO-1 Reports are standardized government forms, that according to

             DOL, aid a government agency, OFCCP, in enforcing compliance with anti-

             discrimination rules, not a commercial purpose.

                    B.1. The District Court’s decision should be affirmed on the independent

             basis that DOL did not meet the foreseeable harm standard required by the FIA.

             This is an independent “requirement that agencies must meet before exempting

             material from disclosure.” Id. “[A]n agency must release a record—even if it falls

             within a FOIA exemption—if releasing the record would not reasonably harm an

             exemption-protected interest and if its disclosure is not prohibited by

             law.” Rosenberg v. U.S. Dep’t of Def., 342 F. Supp. 3d 62, 73 (D.D.C. 2018). The


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             harms asserted by DOL here do not meet DOL’s burden under this requirement;

             they are too speculative, too general, and insufficiently supported by evidence.

                      B.2. DOL’s attempt to do an end run around the foreseeable harm standard

             by invoking the TSA is misplaced and should be rejected by this Court. TSA does

             not prohibit disclosure within the meaning of the FIA, so it does not allow an

             agency to avoid the FIA’s foreseeable harm requirement. Also, the EEO-1 Reports

             at issue here are not covered by the TSA. DOL’s argument that EEO-1 Reports are

             covered by the TSA’s confidential statistical data language is similarly misplaced,

             as it is unsupported by the structure of the statute and would incorrectly expand its

             scope.

                                        VI. STANDARD OF REVIEW

                      This Court should review the district court’s summary-judgment order de

             novo. Transgender Law Center v. Immigration and Customs Enforcement, 46 F.4th

             771, 778-79 (9th Cir. 2022) (citing Animal Legal Def. Fund v. U.S. Food & Drug

             Admin., 836 F.3d 987, 990 (9th Cir. 2016) (en banc) (per curiam)). Further, the

             district court’s order should be affirmed on any ground supported by the record,

             even if it was not addressed or adopted by the district court. See, e.g., Ellis v. Salt

             River Project Agricultural Improvement & Power Dist., 24 F.4th 1262, 1268 (9th

             Cir. 2022).




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                    “FOIA was enacted ‘to pierce the veil of administrative secrecy and to open

             agency action to the light of public scrutiny.’” A.C.L.U. v. U.S. D.O.J., 880 F.3d

             473, 482-83 (9th Cir. 2018) (citation omitted). FOIA creates a presumption of

             disclosure, but contains nine exemptions that are “narrowly construed”9 given the

             plain text, structure, and purpose of the statute. Id.; see also Transgender Law

             Center, 46 F.3d at 783 (“The Supreme Court has ‘consistently stated that FOIA

             exemptions are to be narrowly construed.’ ”) (quoting Dep’t of Just. v. Julian, 486

             U.S. 1, 8 (1988)). “The burden of proving that withheld documents fit into the

             exemptions falls on the agencies.” Id. (citing Dep’t of State v. Ray, 502 U.S. 164,

             173 (1991)).



             9
               DOL contends that Food Marketing Institute disapproved this longstanding rule
             of interpretation. Dkt. No. 8.1 at 32-33. Not so. The rule of has been endorsed by
             the Supreme Court repeatedly. See, e.g., U.S. Dep’t of Just. v. Tax Analysis, 492
             U.S. 136, 151 (1989) (explaining that FOIA was meant to limit agency discretion
             to withhold information, and that, “[c]onsistent with [FOIA’s] goal of broad
             disclosure,” FOIA’s “exemptions have been consistently given a narrow
             Compass”); Dep’t of Air Force v. Rose, 425 U.S. 352, 361 (1976) (holding that
             FOIA’s “limited exemptions do not obscure the basic policy that disclosure, not
             secrecy, is the dominant objective of” FOIA and that its “exemptions are explicitly
             made exclusive, 5 U.S.C. s 552(c)” “and must be narrowly construed”) (internal
             citations and quotation marks omitted). Even in a decision that Food Marketing
             Institute, 588 U.S. at 439, cited with approval on the importance of exemptions, the
             Supreme Court reiterated its narrow construction guidance for FOIA cases. F.B.I.
             v. Abramson, 456 U.S. 615, 630 (1982). And, in Transgender Law Center, 46 F.3d
             at 783, this Court applied the narrow construction rule after Food Marketing
             Institute. The guidance remains good law, in the Supreme Court and in this Circuit,
             and this Court should follow it.

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                                             VII. ARGUMENT

             A.     THE DISTRICT COURT CORRECTLY HELD THAT EEO-1 DATA IS NOT
                    COMMERCIAL INFORMATION UNDER FOIA EXEMPTION 4

                    This Court should uphold Judge Alsup’s finding that EEO-1 records are not

             commercial, a ruling which was already reached by another district court (J.

             Westmore) and tacitly adopted by this Court. Center for Investigative Reporting v.

             Department of Labor (“CIR I”), 424 F. Supp. 3d 771 (N.D. Cal. 2019) upheld by

             Synopsys, Inc. v. U.S. Dep’t of Labor, No. 20-16414, 2022 WL 1501094 (9th Cir.

             May 12, 2022). 10 The government tries to relitigate those arguments, yet again, by



             10
                Given CIR I and this Court’s decision in Synopsys, Inc. v. U.S. Dep’t of Labor,
             No. 20-16414, 2022 WL 1501094 (9th Cir. May 12, 2022), Plaintiffs/Appellees
             also maintain that, as they stated before the district court, DOL should not have
             been permitted to contest this nearly identical case under the doctrine of “collateral
             estoppel” because CIR I was decided on the same two issues that are now before
             this Court, even though the EEO-1 Reports there covered different fiscal years. See
             Nat’l Treas. Employees Union v. I.R.S. (“NTEU”), 765 F.2d 1174 (D.C. Cir. 1985)
             (Ginsburg, J.) (holding that a prior case sustaining the IRS’s FOIA exemption
             claim as to forms for calendar years 1980-1981 collaterally estopped plaintiff from
             prevailing in a later case seeking the same forms for 1981-1982). The issues in CIR
             I were “actually litigated” and finally resolved in Plaintiffs/Appellees’ favor, and
             they comprised not just “a necessary part of the judgment,” but an explicit basis for
             it, consistent with this Court’s “collateral estoppel” case law. Clark v. Bear Stearns
             & Co., Inc., 966 F.2d 1318, 1320 (9th Cir.1992).
                    Here, the District Court declined to apply collateral estoppel based on an
             exception created in United States v. Mendoza, 464 U.S. 154, 162 (1984).
             However, in Mendoza, the Supreme Court held that “non-mutual collateral
             estoppel does not apply against the federal government.” See 1-ER-5 (citing
             Mendoza, 464 U.S. at 162) (emphasis added), but this is a mutual collateral
             estoppel case as identical issues were actually litigated and finally resolved in a

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             trying to employ the invented and potentially dangerous “related to” test, that no

             Circuit has upheld, as it would render the term “commercial” meaningless.

             Cf. Williams v. Taylor, 529 U.S. 362, 364 (2000) (“the cardinal principle of

             statutory construction that courts must give effect, if possible, to every clause and

             word of a statute”).

                    FOIA Exemption 4 states that FOIA “does not apply to matters that are . . .

             commercial or financial information obtained from a person and privileged or

             confidential.” 5 U.S.C. § 552(b)(4).11 While FOIA Exemption 4 does not define

             “commercial,” courts have “consistently held” that the term “commercial. . . in the

             exemption [4 context] should be given [its] ordinary meaning[.]” Pub. Citizen

             Health Rsch. Grp. v. Food & Drug Admin., 704 F.2d 1280, 1290 (D.C. Cir. 1983);

             accord Watkins v. U.S. Bureau of Customs & Border Prot., 643 F.3d 1189, 1194

             (9th Cir. 2011). According to that ordinary meaning, courts limit “commercial” to

             only include information “of a commercial nature” or information that serves “a

             commercial function.” Nat’l Ass’n of Home Builders v. Norton, 309 F.3d 26, 38

             (D.C. Cir. 2002). Unlike the Government’s repeated contention that records are



             prior case that involved identical parties. Collateral estoppel applies and is a
             separate and independent reason why this Court should affirm.
             11
                This exemption “balance[s] the strong public interest in favor of disclosure
             against the right of private businesses to protect sensitive information.” GC Micro
             Corp. v. Def. Logistics Agency, 33 F.3d 1109, 1115 (9th Cir. 1994), overruled on
             other grounds by Animal Legal Def. Fund, 836 F.3d 987.
                                                       23
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             commercial so long as they are “related to” the business, Dkt. No. 8.1 at 19, this

             Court and others have repeatedly stated that records of a commercial nature must

             be more than related to, and instead, must involve intimate aspects of business’

             “commerce, trade or profit” to qualify as commercial. Carlson, 504 F.3d at 1129.

             Similarly, records with a commercial function are also limited in nature. New

             Hampshire Right to Life v. U.S. Dep’t of Health & Human Servs., 778 F.3d 43 (1st

             Cir. 2015). The district court assiduously followed this rule and correctly found

             that neither of these two categories apply here: EEO-1 reports are not of a

             commercial nature; nor do they serve a commercial function. 1-ER-7-9, 14.

                    1.      EEO-1 Reports Are Not of a “Commercial Nature”

                    Consistent with this common understanding, courts, including this one, have

             repeatedly held that records are “of a commercial nature” only where they disclose

             “intimate aspects of a business” or are “intrinsically related to” commerce or

             “plainly commercial.” Watkins, 643 F.3d at 1194. This Circuit only further

             underscored this need for something more than “related to” commerce in Carlson

             v. U.S. Postal Serv., 504 F.3d 1123, 1129 (9th Cir. 2007) (quoting McClellan

             Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1285 (9th Cir. 1987)

             (holding information is commercial if it is closely related “to commerce, trade, or

             profit”); see also Besson v. U.S. Dep’t of Commerce, 480 F. Supp. 3d 105, 113

             (D.D.C. 2020) (stating the company must have a meaningful commercial stake in


                                                      24
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             the material). DOL interestingly chooses to ignore these precedents from this and

             other courts, and instead relies on dictionary definitions and a single Ninth Circuit

             case admittedly “interpreting a separate (and unrelated) provision of FOIA,” Dkt.

             No. 8.1 at 19, to dilute the Exemption 4 test for “commercial” to any records

             related to a business.12

                    Regardless, Watkins, Carlson, and other cases around the country support

             the idea that records are commercial if they relate to the products or the finances

             of the companies, which DOL cannot and does not claim here. For instance, this

             Court in Watkins, found documents disclosing “supply chains and fluctuations of

             demand for merchandise” were commercial. Watkins, 643 F.3d at 1195. Lower

             courts in this Circuit have therefore similarly found articles of commerce or

             obvious business plans commercial, but have often drawn the line there. See

             Starkey v. U.S. Dep’t of Interior, 238 F. Supp. 2d 1188, 1195 (S.D. Cal. 2002)



             12
               While DOL tries to employ a sweeping legal test for commerciality which
             simply depends on whether records “relate[] to” the commercial aspects of a
             business, Dkt. No. 8.1 at 19, that test is not supported by caselaw of this Circuit nor
             the DC Circuit, nor any other Circuit. Cf. Nat’l Ass’n of Home Builders v. Norton,
             309 F.3d 26, 38 (D.C. Cir. 2002). Moreover, such a test would render the
             commercial prong obsolete because any documents a company would
             hypothetically submit to the government would ostensibly be “related to”
             commerce – thus there would be no need for the test. Converse to basic principles
             of statutory interpretation, a construction that renders a provision meaningless is
             prohibited. Cf. Williams v. Taylor, 529 U.S. 362, 364 (2000) (“the cardinal
             principle of statutory construction that courts must give effect, if possible, to every
             clause and word of a statute”).
                                                       25
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             (finding records of a Native American tribe’s water supply was “commercial or

             financial in nature” because it pertained to well water, “an article of commerce”);

             see Besson, 480 F. Supp. 3d at 113 (a company must have a meaningful

             commercial stake in the material); see also Davin v. U.S. Dep’t of Justice, 60 F.3d

             1043, 1050 (3d Cir. 1995) (requiring a “logical connection” between the

             information and the claimed exemption).

                    Here, the records are not meaningfully commercial or intimately related to

             the bottom line as they only potentially disclose some putative commercial

             indicators, which DOL even admits in its brief only “tend to” show a commercial

             impact, such as “the ability to produce . . . more goods.” Dkt. No. 8.1 at 21

             (emphasis added). But such tentative indicators show nothing meaningfully or

             definitively commercial, as the lower court correctly found. 1-ER-9 (“These

             declarations posit a vague connection between the data and the commercial success

             of each company but do not demonstrate the inherently commercial nature of the

             diversity data. Like names or birthdays, the demographic background of employees

             does not speak to the commercial contributions of a company’s workforce and

             cannot be imposed simply because the bellwether objectors deem it so”).

                    Indeed, courts — including this one — have repeatedly held that records that

             simply indicate a commercial value are too attenuated from the commercial aspects

             of a business to be considered commercial in nature. For instance, in Carlson v.


                                                      26
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             U.S. Postal Serv., this Circuit found that even though mail is “essential to

             commerce and trade” and the requested postal information, including “names,

             addresses, telephone numbers, and regular business hours of post offices” had a

             putative commercial value, it “is not commercial information[.]” 504 F.3d at

             1129. So, even if records might provide some “insight into the nature of a

             company’s business dealings,” that is not sufficient to “convert the [records] into

             commercial” data. Nat’l Bus. Aviation Ass’n, Inc. v. F.A.A., 686 F.Supp.2d 80, 86–

             7 (D.D.C. 2010); see also New York Times Co., No. 19 CIV. 1424 (KPF), 2021

             WL 371784, at *13 (S.D.N.Y. Feb. 3, 2021) (same); American Airlines, Inc. v. Nat.

             Mediation Bd., 588 F.2d 863, 868 (2d Cir. 1978) (citing Washington Research

             Project, Inc. v. HEW, 504 F.2d 238, 244-45 (D.C. Cir. 1974) (information research

             projects funded by HEW were not commercial and upholding that commerciality is

             a circumscribed definition)); Brockway v. Department of Air Force, 518 F.2d 1184,

             1188 (8th Cir. 1975) (confidential witness’s statements about airplane crash, were

             not exempt because not sufficiently commercial information); News Grp. Boston,

             Inc. v. Nat’l R.R. Passenger Corp., 799 F. Supp. 1264, 1269 (D. Mass. 1992)

             (Amtrak salary information was not even considered commercial); Pub. Citizen




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             Health Research Grp. v. U.S. Dep’t of Health, Ed. & Welfare, 477 F. Supp. 595,

             605 (D.D.C. 1979) (health-related studies are not commercial). 13

                    DOL attempts to avoid this case law and its obvious conclusion that EEO-1

             Reports are not commercial by hammering at four claims: that EEO-1 reports

             disclose datapoints which make the records commercial, including: (1)

             “headcount” numbers, (2) “allocation of personnel across job categories”, (3)

             “sexual and racial makeup”, and (4) year-to-year “changes”. Dkt. No. 8.1 at 20, 22,

             24, 26. Each of these arguments together and separately, fail for two reasons.

                    First, the law of this Circuit, as stated in Watkins and Carlson, prevents

             holding that any of these four datapoints of EEO-1 Reports is “commercial in

             nature” because the data is too attenuated from the commercial aspects of the

             business. Cf. New York Times Co., 2021 WL 371784, at *8 (“commercial or



             13
                In essence, courts find not everything “related to” the business qualifies it as
             being “commercial in nature.” See New York Times Co., 2021 WL 371784, at *12
             (comprehensively delineating: “information is commercial only when intertwined
             with other [commercial] information…such as (i) sales statistics, profits and
             losses, and inventories; (ii) references to finance functions, mergers and
             acquisitions practices, and sales and marketing, or information about country
             operations, projects, contracts, and bids; (iii) information about interactions
             between the companies’ salespeople and customers, or how the companies promote
             their products; and (iv) extensive information about the [company's] marketing and
             sales programs…”) (citations omitted). Here, just as in Nat’l Bus. Aviation Ass’n,
             Inc. and New York Times Co., none of the EEO-1 data is commercial in itself, nor
             is it intertwined with other commercial data, like payroll data, or production data,
             or other key financial markers that would “convert” it to commercial data.

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             financial . . . at its core are records that reveal basic commercial operations . . . or

             relate to the income-producing aspects of a business” [citation omitted]). These

             four types of data are do not disclose meaningful commercial information about a

             company’s business, but only possibly indicate some commercial information. For

             instance, to the extent that headcount data, diversity information, job allocation,

             and year-to-year changes are cognizable from these forms, even DOL’s declarant

             admits to their vagueness and lack of commercial meaning.

                      A) Headcount data: DOL admits that headcount data is not determinative,

             but just a possible “indicator” of commercial information. Dkt. No. 8.1 at 21.

             Indeed, DOL states, that such data “will tend” to signify a company’s ability to

             make more goods. Dkt. No. 8.1 at 21 (emphasis added). But tending to show

             something is not the same as showing it. Headcount data is simply too attenuated

             to make it commercial, as that data may inaccurately suggest commercial

             productivity, especially in a world of artificial intelligence and robotic technology.

             For instance, countering the government’s suggestion that a higher headcount

             suggests more commercial value, it is possible a smaller headcount (in a company

             using algorithmic intelligence or robotic technology) suggests more commercial

             value.

                      B) Job Allocation: The claim that EEO-1’s job allocation data is somehow

             intrinsically commercial is similarly unfounded, as the categories of jobs are


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             simply too vague to be commercially meaningful, which CIR I and the lower court

             both held, and DOL’s own declarant admits. The district court in CIR I and this

             Court by default has previously already reached this conclusion. See CIR I, 424 F.

             Supp. 3d at 777 (stating “the EEO-1 form does not [show] how resources are

             allocated across a company’s . . . [but] organized by [generalized] job

             category[ies], such as ‘Professionals,’ ‘Sales Workers,’ ‘Operatives.”); id. at 778–

             79 (contrasting “the documents found to be commercial in 100Reporters reflect a

             level of detail not contained in the EEO-1 reports.”); see also 1-ER-7 (“The EEO-1

             form contains broadly sweeping categories such as ‘professionals’ and ‘senior

             officials’ . . . As a result, the report cannot itself yield any commercial insight that

             is specific to the operations of the federal contractor.”). DOL’s own declarant

             admitted EEO-1 data “does not . . . explain resource allocation across its segments”

             and “without context” leaves room for “misinterpretation.” 2-ER-229-230.

                    C) Diversity Statistics: Once again, DOL’s own brief admits that “sexual

             and racial makeup” data is only “correlated with . . . performance outcomes.” Dkt.

             No. 8.1 at 24-25. Appellees’ expert, who has studied these reports, also clearly

             evidenced that diversity numbers are not commercial in nature. 2-ER-114-130; see

             id. 2-ER-116 (“Economists, other business, analysts, and business managers do not

             generally consider such broad descriptive workforce data to be commercially-

             valuable managerial or financial information or trade secrets.”)


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                    D) Yearly Changes: Any claims that year-to-year changes are commercial

             in nature are similarly unfounded. It will be eight years since the data was first

             requested, and therefore any disclosure would be too stale to disclose meaningful

             information. As Judge Alsup already held, “Even if an objector could plausibly

             establish that five years’ worth of information would reveal commercial

             information, that data would probably be stale by the time it was disclosed.” 1-ER-

             9.

                    Second, even if any of these four categories of data listed by the government

             are tangentially commercial, the district court correctly ruled the records were not

             commercial, because even if EEO-1s offer “insight into the nature of the business

             dealings,” that is insufficient to “convert [the EEO-1 report] into commercial

             information.” Compare Nat’l Bus. Aviation Ass’n, 686 F. Supp. 2d at 86–87 with

             1-ER-9 (“These declarations posit a vague connection between the data and the

             commercial success of each company but do not demonstrate the inherently

             commercial nature of the diversity data.”) Courts have clearly stated that to be

             commercial in nature such data must be “intertwined” with more clearly financial

             data to qualify as commercial.” See New York Times Co., 2021 WL 371784, at *12

             (“information is commercial only when intertwined with other [commercial]

             information . . . such as (i) sales statistics, profits and losses, and inventories; (ii)

             references to finance functions, mergers and acquisitions . . .”). As the Court


                                                         31
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             explained in CIR I, the EEO-1 form does not call for or contain “salary

             information, sales figures, departmental staffing levels, or other identifying

             information in these reports.” CIR I, 424 F. Supp. 3d at 777. Applying these courts

             holdings and the holdings of Watkins and Carlson, EEO-1 reports simply should

             not be categorized as commercial because they are too attenuated from the

             commercial aspects of the business.

                    Instead, this case is similar more similar to a recent case in the D.C. Circuit,

             Besson, 480 F. Supp. 3d at 113, where the names of employees were disclosed.

             Names of employees often can reveal gender, race, and ethnicity. But as the Court

             found in Besson, “it is not clear what commercial consequences [are] risk[ed] from

             disclosure of its employees’ names.” Id. DOL “has not, for example, shown that . .

             . . disclosure would create insight into [contractor’s] business strategy or

             capabilities or any unique risk of poaching remains unexplained.” Id. at 113.

             Information about a company’s employees without sales numbers or payroll data

             does not suffice. See, e.g., Van Bourg, Allen, Weinberg and Roger v. NLRB, 728

             F.2d 1270, 1272–73 (9th Cir. 1984).

                    For this reason, the records are not commercial in nature. To rule otherwise

             would be inconsistent with the law of this Circuit and others.




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                    2.      EEO-1 Reports Are Not “Commercial” Under the Excelsior Cases

                    In addition to this Circuit’s decisions in Watkins and Carlson and other

             Circuits requiring EEO-1 Reports not be found commercial in nature, the decades-

             old Excelsior line of cases also demands that EEO-1 Reports cannot be found

             commercial. Those cases, beginning with Getman in 1971, which held that a list of

             all employees eligible to vote in an election was not commercial information, has

             been upheld by Circuits around the country for more than half a century. See

             Getman v. N.L.R.B., 450 F.2d 670 (D.C. Cir. 1971).14 DOL has difficulty

             distinguishing this line of cases, and therefore chooses to ignore them entirely in

             their brief on appeal. But Courts, including this one, for decades have relied on

             these cases to find that records containing employee data is not commercial in

             nature. See, e.g., Van Bourg, 728 F.2d at 1272–73.

                    In Getman, the D.C. Circuit held that even though an Excelsior list contains

             detailed information about a companies’ employees (namely their identities and

             locations), Exemption 4 was “simply inapplicable” to such information, id. at 673,

             because employee data could not “be fairly characterized as . . . ‘financial’ or




             14
                An Excelsior list contains the names and home addresses of all employees
             eligible to vote in certain representation elections.” Getman, 450 F.2d at 671. So
             was named for the decision requiring their maintenance, Excelsior Underwear,
             Inc., 156 N.L.R.B. 1236 (1966).
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             ‘commercial’ information” and were “[o]bviously . . . not exempted from

             disclosure by [Exemption] 4.” Id.

                    The Ninth Circuit has adopted the D.C. Circuit’s reasoning on this point

             wholesale, Van Bourg, 728 F.2d at 1272–73 (“the [data] cannot fairly be

             characterized as either ‘trade secrets’ or ‘commercial or financial’”), and other

             courts have recently reaffirmed it. See, e.g., Besson, 480 F. Supp. 3d at 113 (stating

             employee data “did not create insight into [a company’s] business strategy or

             capabilities or any unique risk of poaching.”).

                    The Excelsior cases dictate the same result here. A report on the

             demographics of a company’s workforce, like a list of employee names and

             addresses, is not commercial because it concerns employees, not “commerce,

             trade, or profit.” See Carlson, 504 F.3d at 1129.

                    Finding EEO-1 reports are commercial would upend the decades-long line

             of Excelsior cases, particularly given that an Excelsior list also reveals exactly who

             and how many people the company employs, as does an EEO-1 Report. If

             anything, an Excelsior list arguably reveals more about “business plans and

             growth,” showing where the employees live and perhaps their tax advantages




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             and/or distance from work. So, to rule that EEO-1 reports qualify as commercial

             information would undo fifty years of precedent.15

                    3.      EEO-1 Reports Do Not Serve a “Commercial Function”

                    Last, documents serving a “commercial function” is an even more limited

             category, usually relating only to internal company records that document a

             company’s finances. See, e.g., Skybridge Spectrum Found. v. Fed. Commc’ns

             Comm’n, No. 10-01496, 2012 WL 336160 at *12 (D.D.C. 2012); Merit Energy Co.

             v. U.S. Dep’t of Interior, 180 F. Supp. 2d 1184, 1188 (D. Colo. 2001); New

             Hampshire Right to Life v. U.S. Dep’t of Health & Human Servs., 778 F.3d 43 (1st

             Cir. 2015). For instance, courts have held that company records about revenue,

             service pricing, and checking accounts serve a “commercial function” where those

             records assist in compiling a budget or a financial statement. But internal company

             records containing general information about personnel or employees does not

             serve a sufficiently commercial function to fall within Exemption 4. See, e.g., New



             15
                In addition to its flailing legal analysis, DOL relies on Argus Leader to argue
             that the district court’s analysis “imposes a standard similar to the one the Supreme
             Court rejected in Argus Leader” Dkt. No. 8.1 at 32. However, Argus Leader had
             nothing to do with Exemption 4’s commerciality prong. It instead focused on the
             confidentiality prong, alone. 588 U.S. at 432-40. DOL wrongly tries to sweep in
             the significance of that case to this analysis. Regardless, even examining Argus
             Leader, that case supports Plaintiffs/Appellees’ position because it involved food
             stamp data which is innately and intrinsically commercial in nature, as food stamps
             are exchanged in commerce for goods, unlike diversity data. Id. at 430-32.

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             Hampshire Right to Life, 778 F.3d at 47 (personnel policies lacked a commercial

             function).

                    Here, EEO-1 reports are standardized government issued forms, that

             according to DOL, admittedly serve a primary purpose to aid a government

             agency, OFCCP, in enforcing compliance with anti-discrimination rules, not a

             commercial purpose. DOL admits it uses EEO-1 Reports exclusively for a

             government, non-commercial purpose: to evaluate discrimination, not profitability.

             See Dist. Ct. Dkt. No. 34 at 5; 3-ER-267 (stating EEO-1s are only used to help

             OFCCP target potential investigations).16 The court in CIR I already acknowledged

             this fact. See CIR I, 424 F. Supp. 3d at 777-79.

                    Still, the Government argues that the data collected in an EEO-1 report also

             fulfills a commercial function because it reveals information about company

             employees and their staffing decisions. But EEO-1 reports are simply too

             attenuated from any commercial meaning to serve a commercial function. 1-ER-7

             (explaining the EEO-1 reports cannot have been used for a commercial “use” as

             the “report cannot itself yield any commercial insight that is specific to the

             operations of the federal contractor”). Instead, “[e]mployers filing EEO-1 reports

             typically regard those reports as nothing more than a necessary cost of doing



             16
               Even if diversity ostensibly benefits profitability, a company would likely create
             a different, more precise form that would accurately calculate profit.
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             business, to be completed solely because they are legally required...In short, the

             standard practice among these employers concerning their EEO-1 reports is, ‘File

             ‘em and forget ‘em.’” 2-ER-117. That is why none of DOL’s declarants were able

             to sufficiently describe either how they use EEO-1 Reports in a commercial

             manner or how they could even theoretically use such generalized, anonymous,

             employee data for a commercial function. See generally CIR I, 424 F. Supp. 3d at

             777-79; 1-ER-7. Indeed, this is why a substantial and growing number of U.S.

             employers now voluntarily release their EEO-1 Reports, further demonstrating

             how these records have no commercial function, or they would not be freely shared

             on the companies’ open websites. 2-ER-117.

                    Moreover, endorsing the Government’s position that an EEO-1 report serves

             a commercial function would mean accepting a definition that would make any

             government form filled out by business fall under Exemption 4, but courts have

             rejected this argument. But see Pub. Citizen Health Rsch. Grp., 704 F.2d at 1290

             (stating that “not every bit of information submitted to the government by a

             commercial entity qualifies for protection under Exemption 4”). Similarly, the

             District of D.C. has rejected as “plainly incorrect” a “broad[] construction of

             Exemption 4,” that “a company has a ‘commercial interest’ in all records that

             relate to every aspect of the company’s trade or business.” Pub. Citizen v. United

             States Dep’t of Health & Hum. Servs., 975 F. Supp. 2d 81, 100 (D.D.C. 2013); see


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             also New York Times Co., 2021 WL 371784, at *9–14 (rejecting argument that all

             information for VW’s program is “commercial.”).

                    Because DOL fails to show that the records are sufficiently commercial – a

             legal argument – this Court should affirm the district court’s decision and provide

             finality to this issue once and for all. In one last ditch effort, DOL asks this court to

             extend this matter one more time, and remand this legal question to the district

             court trying to state that there remain “issues of fact,” Dkt. No. 8.1 at 37, but that

             claim is entirely unfounded. First, the agency is required to “draw[] all reasonable

             inferences in the light most favorable to the requester” and show “there is no

             genuine issue of material fact.” CIR I, 424 F. Supp. 3d at 776 (citations omitted).

             Here, the DOL has failed to do so in any manner. Instead, now two district courts

             have reviewed this legal question and issued legal opinions on the matter. See, e.g.,

             1-ER-4. Instead, as multiple cases have now clarified: where records are not

             commercial in nature and are not used for commercial purpose they cannot be

             found to be commercial. We ask this court to provide finality and affirm.

             B.     EEO-1 REPORTS SHOULD BE DISCLOSED BECAUSE DOL FAILED TO SHOW
                    THAT DISCLOSURE WOULD CAUSE A “FORESEEABLE HARM” UNDER THE
                    FOIA IMPROVEMENT ACT OF 2016

                    This Court should also affirm summary judgment on an independent ground:

             that DOL failed to meet its separate burden to show that reasonably foreseeable

             harm to an interest protected by Exemption 4 would result from disclosure of the


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             EEO-1 report. See CIR I, 424 F.Supp.3d at 780; 1-ER-11-12 (stating “[t]he

             ‘foreseeable harm’ standard applies here”). In 2016, Congress passed and the

             President signed the FIA, which amended FOIA to state: “an agency ‘shall

             withhold information’ under the FOIA ‘only if the agency reasonably foresees that

             disclosure would harm an interest protected by an exemption’ or [if] ‘disclosure is

             prohibited by law.’ ” Sierra Club Inc. v. U.S. Fish & Wildlife Serv., 925 F.3d 1000,

             1010 n.7 (9th Cir. 2019) (quoting 5 U.S.C. § 552(a)(8)(A)(i)) (emphasis in

             original).

                    The “ ‘foreseeable harm’ requirement” is an independent “requirement that

             agencies must meet before exempting material from disclosure.” Id. The FIA’s

             legislative history confirms that it codifies a “presumption of openness” and

             “mandates that an agency may withhold information only if it reasonably foresees a

             specific identifiable harm to an interest protected by an exemption, or if disclosure

             is prohibited by law.” S. Rep. 114-4 at 7–8 (Feb. 23, 2015) (statement of Sen.

             Grassley, emphasis added).17 “[A]n agency must release a record—even if it falls


             17
                As relevant to this case, a statement on the FIA by Senator Grassley stated
             “concerns that some agencies [were] overusing FOIA exemptions” and about “a
             growing and troubling trend towards relying on these discretionary exemptions to
             withhold large swaths of Government information, even though no harm would
             result from disclosure.” Id. He explained that codifying a presumption of openness,
             as the FOIA Improvements Act does, meant “Agencies should note that mere
             ‘‘speculative or abstract fears,’’ or fear of embarrassment, are an insufficient basis
             for withholding information.” Id. at 8. Senator Leahy similarly stated that the new

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             within a FOIA exemption—if releasing the record would not reasonably harm an

             exemption-protected interest and if its disclosure is not prohibited by law.”

             Rosenberg v. U.S. Dep’t of Def., 342 F. Supp. 3d 62, 73 (D.D.C. 2018). The FIA’s

             new, separate prerequisite for withholding records is referred to as the “foreseeable

             harm” test.18 5 U.S.C. § 552 (a)(8)(A). As always under FOIA, the agency bears

             “the burden of justifying any withholding” under the foreseeable harm standard.

             Judicial Watch, Inc. v. U.S. Dep’t of Commerce, 375 F. Supp. 3d 93, 98 (D.D.C.

             2019).

                    Here, the foreseeable harm test, as the court held in CIR I, is an independent

             reason to affirm summary judgment in Plaintiffs/Appellees’ favor because DOL

             has not met its burden to prove that any qualifying harm will result from disclosing

             the EEO-1 reports sought here. See Dkt. No. 8-1 at 35-38. None of the harms DOL

             identifies in its Appellant’s Brief, Dkt. No. 8-1 at 36-37, nor in its District Court

             Brief, e.g., Dist. Ct. Dkt. No. 38 at 22-23, meet this heavy burden.

                    Perhaps recognizing the shortcomings of its foreseeable harm showing, DOL

             instead focuses its argument on its misplaced claim that the foreseeable harm test



             standard was designed to “reduce the perfunctory withholding of documents
             through the overuse of FOIA’s exemptions.” 114 Cong. Rec. S1496 (Mar. 15,
             2016).
             18
                This standard, “codif[ies] a presumption of openness for agencies to follow
             when they respond to FOIA requests.” 114 Cong. Rec. S1494 (Mar. 15, 2016),
             https://perma.cc/KQW7-655R (statement of Sen. Grassley).
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             does not apply because the TSA does. Dist. Ct. Dkt. No. 34 at 23 (citing 18 U.S.C.

             § 1905). However, as the district court stated, and as explained infra, the Trade

             Secrets Act does not apply in this case.

                    1.      DOL Failed to Meet Its Burden Under the FOIA Improvement
                            Act to Prove That Disclosure Would Cause Foreseeable Harm

                    Under the FIA, to withhold records based on a discretionary exemption, an

             agency must meet an “independent and meaningful burden.” It must “identify

             specific harms to the relevant protected interests that it can reasonably foresee

             would actually ensure from disclosure of the withheld materials” and “connect the

             harms in a meaningful way to the information withheld.” CIR v. U.S. Customs &

             Border Prot., 436 F. Supp. 3d 90, 106 (D.D.C. 2019); see also id. at 106 (holding

             that “general explanations” and “boiler plate language” were insufficient to prove

             foreseeable harm) (internal citation and quotation marks omitted). Moreover, 5

             U.S.C. § 552(a)(8)(i)(I)’s requirement that an agency must “reasonably foresee[]”

             harm renders this test objective, Kentucky v. King, 563 U.S. 452, 464 (2011), and

             thus readily susceptible to judicial review. In this Exemption 4 case, and especially

             in its Appellant’s Brief in this Court, DOL has failed to meet this burden or prove

             that disclosure would harm a qualifying “commercial or financial interest.” See

             Seife v. FDA, 43 F.4th 231, 242 (2d Cir. 2022); see also CIR, 436 F. Supp. 3d at

             113 (observing in dicta that the foreseeable harm test requires causing “genuine



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             harm to [the submitter’s] economic or business interests” [citation omitted]). Here,

             none of DOL’s asserted harms meet these requirements.

                    First, before the District Court, the DOL argued that disclosure would harm

             submitters’ interest in confidentiality, and that this qualified under the FIA. But

             harm to any interest in confidentiality is not, and cannot be, sufficient. Dist. Ct.

             Dkt. No. 38 at 22. As previously explained, the harm must be related to the

             particular exemption. Here, the ordinary meaning of Exemption 4 makes clear that

             it protects against the specific harm caused by a breach of the confidentiality of

             commercial or financial information, not of information of any kind. See Milner v.

             Dep’t of Navy, 562 U.S. 562, 569 (2011) (“‘Statutory construction must begin must

             begin with the language employed by Congress and the assumption that the

             ordinary meaning of the language accurately expresses the legislative purpose.’”)

             (quoting Park ‘N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189, 194 (1985));

             Seife v. U.S. Food and Drug Admin., 43 F.4th 231, 240-41 (2d Cir. 2022) (“We

             examine the ordinary meaning and structure of Exemption 4, looking at the words

             themselves, the specific context in which the words appear, ‘and the broader

             context of the statute as a whole.’”) (quoting Robinson v. Shell Oil Co., 519 U.S.

             337, 341 (1997)). Accordingly, the Second Circuit rightly held, in one recent case,

             that

                    . . . the interests protected by Exemption 4 are the submitter’s
                    commercial or financial interests in information that is of a type held in
                                                       42
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                    confidence and not disclosed to any member of the public by the person
                    to whom it belongs. An agency in a FOIA case can therefore meet the
                    foreseeable harm requirement of the FIA by showing foreseeable
                    commercial or financial harm to the submitter upon release of the
                    contested information.

             Seife, 43 F.4th 231, 240-41. As the Second Circuit explained in Seife, this is also

             consistent with both “the structure of the statute and common sense.” Id. at 241.

             Reading Exemption 4 as protecting all “confidentiality” interests would essentially

             remove FIA from any Exemption 4 analysis as well. Id.; see also TRW Inc. v.

             Andrews, 534 U.S. 19, 31 (2001) (rule against surplusage); Bennett v. Spear, 520

             U.S. 154, 173 (1997) (refusing to read statute in a way that would “emasculate an

             entire section”). It is consistent with the purpose of the FIA, and of FOIA more

             broadly, as well – and with the rule that to effectuate the FIA’s and FOIA’s

             purpose, FOIA’s exemptions should be construed narrowly. See Dep’t of Air

             Force, 425 U.S. at 362. Accordingly, DOL’s “confidentiality” foreseeable harm

             theory fails as a matter of law. 19



             19
                Additionally, CIR maintains, as it did in the district court, that DOL has not met
             its burden to prove the requested EEO-1 Reports are “confidential” under
             Exemption 4. See Dist. Ct. Dkt. No. 39 at 15-19. DOL has not proven EEO-1
             Report information was or is actually or customarily kept private, or that DOL
             gave sufficient assurances of privacy. Id. As a result, EEO-1 Reports are not
             covered by Exemption 4 for yet another independent reason. And, relevant here,
             this fatally undermines DOL’s claim that disclosure would harm a confidentiality
             interest. The District Court has not yet ruled on that issue, as it rightly held the
             requested EEO-1 Reports were not “confidential” under Exemption 4. 1-ER-8-9.

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                    Second, DOL speculated that disclosing EEO-1 Reports could result in

             negative publicity for contractors and harm contractors’ hiring and retention

             efforts. 2-ER-114-127; 4-SER-1119-1121. But this speculative harm does not meet

             DOL’s burden, especially as it has long been the rule, that generating “negative

             impressions,” without more, does not harm Exemption 4-protected interests. Seife,

             43 F.4th at 242. As multiple Circuits and this Court have previously agreed

             “Exemption 4 does not guard against mere embarrassment in the marketplace or

             reputational injury.” United Techs. Corp. v. U.S. Dep’t of Def., 601 F.3d 557, 564

             (D.C. Cir. 2010); Gen. Elec. Co. v. U.S. Nuclear Regulatory Comm’n, 750 F.2d

             1394, 1402-03 (7th Cir. 1984) (“any embarrassing disclosure is not the sort of

             thing that triggers exemption 4”); Martech USA, Inc. v. Reich, No. C-93-4137

             EFL, 1993 WL 1483700, at *2 (N.D. Cal. Nov. 24, 1993) (same); Pub. Citizen

             Health Rsch. Grp., 704 F.2d at 1291 (same).

                    Third, DOL alluded to disclosure possibly harming a company’s “hiring

             practices” and retention “strategies” – but DOL failed to identify with any

             reasonably objective, specificity what these possible harms might be. For instance,

             the declarations offered by OFCCP discuss only speculative harms that “disclosing

             the EEO-1 information would “create a wealth of data that can be used by

             companies looking to recruit.” Dist. Ct. Dkt. No. 34 at 27. These generalized

             assertions of harm offered by DOL are insufficient under the FOIA Improvements


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             Act. Dist. Ct. Dkt. No. 34 at 26-27. Amadis v. United States Dep’t of State, 971

             F.3d 364, 371 (D.C. Cir. 2020) (agency “cannot simply rely on ‘generalized’

             assertions that disclosure ‘could’ chill deliberations”); Greenspan v. Bd. of

             Governors of Fed. Rsrv. Sys., 643 F. Supp. 3d 176, 186 (D.D.C. 2022) (agency

             must provide a focused and concrete demonstration of foreseeable harm).

                    Fourth, DOL ambiguously contended that disclosure would reveal “human

             resources management strategies,” “labor productivity,” and “forecasting”

             information, as well as “workforce data and trends,” which could be used to

             evaluate the “strength or vulnerability” of a company. Dist. Ct. Dkt. No. 38 at 23-

             24. Again, DOL’s argument consists of buzzwords, not specific evidence of

             reasonably foreseeable harm; the specific nature of the harm asserted is absent. 4-

             SER-1119. DOL has not identified these harms adequately, has not proven any

             such harms would occur, and has not proven these harms would impact protected

             interests under Exemption 4. See Judicial Watch, 375 F. Supp. 3d at 100 (quoting

             H.R. Rep. 114-391, at 9 (2016) (“general explanations of the possibility of a

             ‘chilling effect’ fall short of articulating ‘a link between the specified harm and

             specific information contained in the material withheld.’”)); 2-ER-120-121 (¶¶ 18-

             20) (EEO-1 data cannot cause even remote harm to companies).

                    Sixth, DOL speculated that “some” privacy interests could be “threatened”

             by disclosure, since disclosure could lead to the identification of “some” listed


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             employees who might then be contacted by recruiters about new potential

             opportunities. Dist. Ct. Dkt. No. 38 at 24. First, Exemption 4 does not protect

             against such harms, but moreover DOL has not proven and cannot prove anything

             “reasonably foreseeable” with this generalized, vague string of hypotheticals.

                    Last, DOL asserted, in a grasping effort that foreseeable harm can be

             inferred from the fact that “Congress has made it a crime for EEOC employees to

             disclose [EEO1s].” Dist. Ct. Dkt. No. 34 at 26. But this statutory provision does

             not apply to OFCCP, as DOL admits, and OFCCP has been permitted for decades

             to disclose this information through FOIA, so one cannot infer harm from

             disclosure by OFCCP on this basis. See Dkt. No. 8.1 at 7; Sears Roebuck & Co. v.

             Gen. Serv. Admin., 509 F.2d 527, 529 (D.C. Cir. 1974). DOL also asserted that

             companies might elect not to contract with the federal government if they had to

             disclose EEO-1 reports to the public. That assertion was and is unsupported by

             DOL’s evidence, is inconsistent with the highly abstract content of EEO-1 Reports.

              Further, any conceivable harm from disclosing EEO-1 Reports would be

             significantly mitigated by the age of the requested EEO-1 Reports and the fact that

             much of the data is already public. 20


             20
                A search into the employee statistics of several of the bellwether objectors
             reveals that this type of information is already in the public domain. For instance, a
             Google search of Allied Universal yielded: (1) an organizational breakdown listing
             all the business leaders in regional, business, and functional areas (complete with

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                    Thus, this Court should affirm the District Court’s order on the separate and

             independent ground that Defendant/Appellant has not met its burden to prove that

             disclosure will cause reasonably foreseeable harm.

                    2.      The Trade Secrets Act § 1905 Does Not Apply and Therefore
                            DOL’s Burden to Meet the FIA Survives

                    Perhaps recognizing that it cannot meet its burden to prove foreseeable

             harm, DOL’s Brief doubles down on a novel attempt to use another statute, the

             TSA, to do an end run around its requirements. Because the FIA does not require

             an agency to prove foreseeable harm when “‘disclosure is prohibited by law[,]’” 5

             U.S.C. § 552(a)(8)(A), DOL simply contends that the Trade Secret Act “prohibits

             disclosure” of the EEO-1 Reports, and so the FIA does not apply. Dkt. No. 8.1 at

             38. This last-ditch attempt, too, fails. DOL confoundingly claims in the same

             paragraph that it does “not” raise the TSA to “extend the reach of Exemption 4” or

             to advocate for an alternative basis for withholding records” under Exemption 3.

             But its argument, if adopted, would essentially do one of these two things by


             photos & bios on each individual) and (2) publicly available Environmental, Social
             and Governance reports that provide progress updates on the company’s
             continuing DEI measures. 2-ER-123-124. A search of the smaller privately owned
             bellwether objectors, Brandenberg Industries, 2-ER-124, also showed just how
             publicly accessible generalized diversity information of the company’s workforce
             is. Within minutes, this research provided “a 23 page report which included: (1)
             counts of employees…more detailed…than the…Type 2 Consolidated EEO-1; (2)
             an organization chart…; (4) names, job titles, locations, telephone numbers, and
             recently-verified email addresses for 124 key employees; (5) financial data and
             other indicators [of] stability.” Id.
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             cutting foreseeable harm out of the equation entirely in every Exemption 4 case.

             Such faulty logic must fail. Compare Dkt. No. 8.1 at 38 (the “Trade Secrets Act

             does not extend the reach of Exemption 4 and is not an alternative basis for

             withholding records requested under FOIA”), with id. (the “Trade Secrets Act is a

             statute that prohibits disclosure”). In this case, the district court ruled on the TSA

             correctly, and therefore the FIA’s foreseeable harm test applies, for two main

             reasons.

                    First, DOL is right about a crucial point that should guide the Court’s

             analysis: it is well-settled that the Trade Secrets Act is not a withholding statute

             that allows nondisclosure under FOIA Exemption 3. DOL makes a passing

             reference, without quotation marks, to key language in the Trade Secrets Act that

             has led courts to this conclusion. See Dkt. No. 8.1 at 39 (stating that the TSA

             “prohibits unauthorized disclosure” of covered information). The Trade Secrets

             Act contains an explicit limitation: it prohibits only disclosure of covered

             information “in any manner or to any extent not authorized by law.” 18 U.S.C. §

             1905 (emphasis added). This has led courts to hold that the Trade Secrets Act is

             not covered by Exemption 3, which applies to records “specifically exempted from

             disclosure by statute . . . if that statute requires that the matters be withheld from

             the public in such a manner as to leave no discretion on the issue” or “establishes

             particular criteria for withholding or refers to particular types of matters to be


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             withheld.” 5 U.S.C. § 552(b)(3). As the D.C. Circuit Court of Appeals reasoned

             decades ago,

                    The third exemption requires that matters be “specifically exempted
                    from disclosure by statute,” 5 U.S.C. s 552(b)(3) (1970) (emphasis
                    added), yet section 1905 by its own terms is a statute of general
                    applicability and not one that specifically defines or categorizes the
                    information to be exempted within the meaning of the third exemption.

             Nat’l Parks & Conservation Ass’n v. Kleppe, 547 F.2d 673, 686 (D.C. Cir. 1976);

             accord., e.g., CNA Fin. Corp. v. Donovan, 830 F.2d 1132, 1141-42 (D.C. Cir.

             1987); Gen. Elec. Co. v. U.S. Nuclear Regulatory Comm’n, 750 F.2d 1394, 1401–

             02 (7th Cir.1984) (“[T]he Trade Secrets Act has no independent force in cases

             where the Freedom of Information Act is involved. . . .”); JCI Metal Prod. v. U.S.

             Dep't of the Navy, No. 09-CV-2139-IEG, 2010 WL 2925436, at *8 (S.D. Cal. July

             23, 2010) (“Section 1905, however, cannot override the FOIA's obligatory

             disclosure provisions.”). These cases make clear that, just as the TSA does not

             require that matters be withheld from the public or exempt matters within the

             meaning of FOIA Exemption 3, it does not “prohibit” disclosure “by law” within

             the meaning of the FIA such that the foreseeable harm standard does not apply.

                    Furthermore, reading the FIA in a way that allows DOL to evade the FIA

             would be inconsistent with its structure, which excludes Exemption 3 from the

             foreseeable harm requirement explicitly. 5 U.S.C. § 552(a)(8)(B); see also Seife,

             43 F.4th at 240-41 (considering structure and context in interpreting statute).


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             Finally, DOL’s reading of the FIA is inconsistent with rulings of this Court and the

             Supreme Court that have repeatedly held FOIA must be construed in favor of

             access.purpose of FOIA. See supra at n. 9 (collecting cases). 21

                    Here, the plain language of the FIA and the TSA controls. See Food Mktg.

             Inst., 588 U.S. at 436 (“Where a court's careful examination of the ordinary

             meaning and structure of a statute yields a clear answer, judges must stop.”).

                    While the Court need analyze the issue no further to deny DOL’s attempt to

             evade the FIA, DOL’s TSA argument also fails because DOL has not proven, and

             cannot prove, that EEO-1 Reports are subject to the TSA. DOL cites case law,

             including from this Circuit, which holds the TSA and section 1905 have been held

             to be “co-extensive.” Dkt. No. 8.1 at 37 (citing Pac. Architects & Eng’rs Inc. v.

             U.S. Dep’t of State, 906 F.2d 1345, 1347 (9th Cir. 1990) (quoting General Motors

             Corp. v. Marshall, 654 F.2d 294, 297 (4th Cir. 1981)). 22 But as previously argued


             21
                DOL cites a stray reference to the Trade Secrets Act in a statement by Senator
             Grassley about the FOIA Improvements Act as evidence that the Trade Secrets Act
             prohibits disclosure for purposes of the FOIA Improvement Act – even though, as
             DOL concedes, as a literal matter it does not prohibit disclosure under FOIA. See
             Dkt. No. 8.1 at 38 (citing S. Rep. No. 114-4, at 8 & n. 11). That reference falls far
             short of justifying adopting DOL’s extraordinary position.
             22
                DOL acknowledges that this case law may not be consistent with current law
             given Food Marketing Institute’s expansion of Exemption 4. See Synopsys, Inc. v.
             Dep’t of Lab., Nos. 20-16414, 20-16416, 2022 WL1501094 (9th Cir. May 12,
             2022) (stating that it was possible Food Marketing Institute had “expanded the
             scope of Exemption 4” such that “the exemption is now broader” than the TSA);
             Dkt. No. 8.1 at 40. See also Chrysler Corp. v. Brown, 441 U.S. 281, 319 n.49

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             in CIR I, before this Court, in Synopsys, Inc. v. U.S. Dep’t of Labor, Nos. 20-

             16414, 20-16416, 2022 WL 1501094 (9th Cir. May 12, 2022), and in the court

             below, EEO-1 Reports plainly do not fall within the narrow definition of a “trade

             secret” covered by section 1905.

                    Here, Exemption 4 notwithstanding, the TSA does not cover the diversity

             data in EEO-1 Reports. EEO-1 data does not meet the narrow definition of “trade

             secret” in Exemption 4 or Section 1905. Information qualifies as a “trade secret”

             under these statutes only if it is inherently “secret,” economically valuable, and

             directly related to “the productive process,” not “collateral matters of business.”

             Pub. Citizen Health Rsch. Grp., 704 F.2d at 1287. The term is limited to a “plan,

             formula, process, or device that is used for the making, preparing, compounding, or

             processing of trade commodities and that can be said to be the end product of

             either innovation or substantial effort,” not “tangential” information. Id. at 1288-

             90. EEO-1 information certainly does not qualify as a “trade secret.” Nor does it

             qualify as confidential information of any kind, as Plaintiffs/Appellants argued in

             the District Court as a further basis for repudiating DOL’s Exemption 4 claim, as

             DOL has disclosed them. See Taylor v. Babbitt, 760 F. Supp. 2d 80, 86 (D.D.C.


             (1979) (acknowledging, in a pre-Food Marketing Institute case, the “theoretical
             possibility that material might be outside Exemption 4 yet within the substantive
             provisions of § 1905, and that therefore the FOIA might provide the necessary
             ‘authoriz[ation] by law’ for purposes of § 1905” to allow disclosure under the
             statute).
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             2011); Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1011 n.15 (1984). Second,

             contractors also regularly publish EEO-1 Report data themselves or otherwise

             allow it to become available online. 2-ER-125-127; 4-SER-1121. Third, the

             information in EEO-1 Reports lacks a “direct relationship” to the “productive

             process,” Cf. Pub. Citizen, 704 F.2d at 1288, and EEO-1 Reports are not

             commercially valuable, for the reasons stated by Plaintiffs/Appellees’ experts. 2-

             ER-114-123; 4-SER-1119-1121. Finally, to argue that this test applies, contractors

             would have to take the implausible position that the race and gender of its

             employees is a “plan, formula, process, or device . . . used for the making,

             preparing, compounding, or processing of trade commodities” – a bizarre if not

             disturbing conclusion. Id. See also Citizens Comm’n on Human Rights v. F.D.A.,

             No. 92-CV-5313, 1993 WL 1610471 at *7 (C.D. Cal. May 10, 1993), aff’d in part

             and remanded in part on other grounds, 45 F.3d 1325 (9th Cir. 1995).

                    DOL attempts to get around this narrow definition of “trade secret” in this

             case, just as it attempts to get around the foreseeable harm standard.: . Rather than

             arguing that EEO-1 Report data qualifies for TSA protection, it instead argues that

             EEO-1 Report data constitutes “confidential statistical data,” which it argues is an

             independent path to coverage by the statute.” Dkt. No. 8.1 at 40-41. But this

             language does not, change result of the TSA analysis. It requires confidentiality,

             and DOL has not proven EEO-1 Reports are legitimately confidential. Further,


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             “confidential statistical data” should be construed consistent with its context, as

             covering statistics with inherent commercial value, not statistics with any relation

             to a business, no matter how distant or tenuous. Seife, 43 F.4th at 240-41; see also

             Yates v. United States, 574 U.S. 528, 529 (2015) (applying noscitur a sociis and

             ejusdem generis to interpret one of a list of terms, “tangible object,” as referring to

             “the subset of tangible objects used to record or preserve information” the context

             in which it appeared). Second, courts in this Circuit, and others, have rejected an

             expansive interpretation of Section 1905 in similar cases. See CIR I, 424 F. Supp.

             3d at 779 (not considering the TSA argument); Citizens for Resp. & Ethics in

             Washington v. United States Dep’t of Just., 58 F.4th 1255, 1266-69 (D.C. Cir.

             2023) (stating that the names of contractors were not trade secrets nor

             “commercial” information under FOIA); see also 2-ER-124-130; 4-SER-1119-

             1121. Last, if “confidential statistical data” could be read as broadly as DOL

             contends, it would swallow much of the rest of the statute and dramatically expand

             the statute’s reach, as the district court in this case thoughtfully explained in his

             summary judgment order. See 1-ER-10 (stating “This order is not convinced by

             defendant’s superficial argument that diversity data within an EEO-1 report is

             protected under the Trade Secrets Act . . . it is made without any substantive

             support from caselaw and could possibly render the language of the Act

             meaningless.”); accord TRW Inc., 534 U.S. at 31 (rule against surplusage).


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                    In sum, the TSA does not allow DOL to escape requirement, under the FIA,

             that it prove disclosure will cause reasonably foreseeable harm in order to prevail.

             See JCI Metal Prod., 2010 WL 2925436, at *8 (TSA “cannot override the FOIA’s

             obligatory disclosure provisions”). DOL’s inability to do so is an independent basis

             for affirming the district court.

                                             VIII. CONCLUSION

                    For the foregoing reasons, the judgment of the district court should be

             affirmed.



             DATE: July 10, 2024
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                                   STATEMENT OF RELATED CASES

                    Pursuant to Ninth Circuit Rule 28-2.6, Plaintiffs/Appellees state that they

             know of no related case pending in this Court.



             DATE: July 10, 2024
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                                   CERTIFICATE OF COMPLIANCE

                    Pursuant to Federal Rule of Appellate Procedure 32(a) and Ninth Circuit

             Rule 32-1, this answering brief is: proportionally spaced, has a typeface of 14

             points or more, and contains 13,250 words.



             DATE: July 10, 2024
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                                       CERTIFICATE OF SERVICE

                    I hereby certify that on July 10, 2024, I electronically filed the foregoing

             with the Clerk of the Court for the United States Court of Appeals for the Ninth

             Circuit by using the appellate CM/ECF system.

                    I certify that all participants in the case are registered CM/ECF users and

             that service will be accomplished by the appellate CM/ECF system.



             DATE: July 10, 2024
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